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      EXHIBIT "AL                                                             A
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                 Better Business Bureau




    File a Complaint
    Feedback from consumers is vital to BBB. We appreciate your willingness to report this
    information to us. We look forward to helping you and the business work toward a
    resolution.


    Your complaint details:
                                                                             Business Headquarters
                                                                             Location
    First name: Hiran

                                                                             9 1 Hacker Way,
    Last name: Rodriguez
                                                                                Menlo Park, CA 94025-
                                                                                1456
    Email: rodriguezhiran394<^gmail.com

    Phone: 5042038459


    Street address: 820 Grove Ave                                            If you have any questions or
                                                                             concerns, please contact
    State: LA
                                                                             the BBB assigned to your
                                                                             complaint:
    City: Metairie
                                                                             BBB serving the San
    Zip: 70003                                                               Francisco Bay Area and
                                                                             Northern Coastal California
    Country: USA
                                                                             9 PO Box 218
    Description of complaint:                                                   San Leandro, CA 94577
    To the BBB: This is a formal complaint against Meta
    Platforms, Inc. (1 Hacker Way, Menlo Park, CA), for
                                                                                (866) 411-2221
    failure to comply with a federal subpoena issued on
    May 19. 2025 in Rodriguez v. Meta Platforms, Inc., et
    al.. Case No. 2:25-cv-00197-JCZ-DPC. now on appeal
    in Fifth Circuit Case 25-30279. The subpoena, issued
    under Fed. R. Civ. P. 45, demanded Meta produce



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    session logs and metadata tied to a private Instagram
    Direct stream (Thread ID; 17843630411636438) active
    April 15-30, 2025. This stream persisted despite my
    uninstallation of Instagram. No response or objection
    was received by the May 31. 2025 deadline. This
    violates Rule 45(d)(2)(B) and Rule 37(e). Requested
    data includes: • Logs of the stream (ID:
    lGDirectPrivVideolngress123) • Account ID;
    49033100437 (IG), 100000241034887 (FB) • IPs,
    UUIDs, access by Meta employees • SDK tracking,
    fallback routing via shortwave.lnstagram.com This
    noncompliance obstructs my litigation, violates my
    rights, and worsens ongoing privacy harms. Meta
    continues covert tracking without consent, and its
    silence appears retaliatory and unlawful. Requested
    Relief: 1. Immediate Meta response acknowledging the
    subpoena; 2. Confirmation of record preservation; 3.
    BBB intervention due to ongoing harm and legal
    violations. I can provide the subpoena and supporting
    logs upon request Thank you. Respectfully, Hiran
    Rodriguez 820 Grove Ave Metairie, LA 70003
    hiranrodriguez@cfutlook.com (504) 203-8459 I hereby
    give notice that I do not join or consent to any
    corporate, commercial, administrative, or inferior
    jurisdiction by submitting this complaint No tacit
    agreement is presumed. No waiver, agency, or
    consent is granted unless expressly stated. All rights
    are reserved under the Constitution and all applicable
    legal protections.

    Desired settlement:

    Meta must comply with a federal subpoena (served
    May 19, 2025, Civil Action No. 2:25-cv-00197-JCZ-
    DPC), confirm preservation of evidence, and
    immediately cease unauthorized surveillance via SDKs
    and fallback chat relays. This is linked to a
    constitutional appeal and urgent privacy harm. ACTIVE
    5th Circuit Appeal No. 25-30297.1 hereby give notice



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    that 1 do not join or consent to any corporate,
    commercial, administrative, or inferior jurisdiction by
    submitting this complaint. No tacit agreement is
        presumed. No waiver, agency, or consent is granted
        unless expressly stated. All rights are reserved under
    the Constitution and all applicable legal protections.



        Flies to upload:
        Meta_Subpoena.pdf


    I     Does your complaint involve a health issu^:
    i No


          • I have read and agree to the Complaint
              Submission Terms.

          •   I authorize the business to communicate with

              BBB about my complaint and disclose to BBB
              any personal information related to the
              complaint Including the following if applicable;
              (a) information about a transaction or payment,
              (b) student records, and (c) information about an
              alleged debt
          •   I consent to the collection, use, and disclosure of
              my personal information in accordance with the
              BBB Privacy Policy, which I have read and
              understand.


    Signature:

    Date:




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